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                            UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF ALABAMA
                                 SOUTHERN DIVISION


TYNDALL FEDERAL CREDIT UNION                         )
                                                     )
       Plaintiff,                                    )
                                                     )
v.                                                   )      Case No. 1:17-cv-00111-WC
                                                     )
DARTY PROPERTIES, LLC,                               )
DAVID LANDON DARTY,                                  )
                                                     )
       Defendants.                                   )
                                                     )
v.                                                   )
                                                     )
                                                     )
GOOD CENTS CONSTRUCTION, INC. and                    )
GOOD CENTS CONSTRUCTION                              )
CONSULTANTS, LLC,                                    )
                                                     )
       Third-Party Defendants.                       )
                                                     )


     FIRST AMENDED COMPLAINT OF TYNDALL FEDERAL CREDIT UNION


       COMES NOW Plaintiff Tyndall Federal Credit Union (“Tyndall”) and asserts the

following First Amended Complaint against David Landon Darty (“Darty”), Darty Properties,

LLC (“Darty Properties”), Good Cents Construction, Inc. (“Good Cents”), and Good Cents

Construction Consultants, LLC (“Good Cents Consultants”). In support of its First Amended

Complaint, Tyndall avers as follows:

                                           PARTIES

       1. Tyndall is a federally chartered credit union whose activities are localized in the state

of Florida. Indeed, Tyndall’s principal place of business is located in Panama City, Florida, nine


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(9) of its (13) branches are located in Florida, the majority of its business is transacted in Florida,

and its charter expressly limits its field of membership to civilian and military personnel that

have a connection with the Tyndall Air Force Base, other military units and operations, or certain

private companies located primarily in the Panama City, Florida area.

        2. Darty Properties is a limited liability company formed under the laws of Alabama with

its principal place of business in Dothan, Alabama and with Darty, an Alabama resident, as its

sole member.

        3. Darty is an individual over the age of nineteen (19) and a resident of Alabama.

        4. Upon information and belief, Good Cents is an Alabama corporation with its principal

place of business in Alabama.

        5. Upon information and belief, Good Cents Consultants is an Alabama limited liability

company with its principal place of business in Alabama and with Ronald Dewan Hovey, an

Alabama resident, as its sole member.

                                  JURISDICTION AND VENUE

        6. The Court has jurisdiction of this action under 28 U.S.C. § 1332 as the matters alleged

herein are controversies between citizens of different states and the amount(s) in controversy

exceeds $75,000.00, exclusive of interest and costs.

        7. Venue is proper to the United States District Court, Middle District of Alabama,

Southern Division, under 28 U.S.C. § 1391 as the various events giving rise to the controversies

described herein occurred in this Federal District and Division, and all Defendants are subject to

the jurisdiction of this Court.




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                                              FACTS

       8. On or about May 29, 2015, Tyndall and Darty Properties entered into a Lease

Agreement for the real property situated at 3116 Ross Clark Circle, Dothan, Alabama 36303 (the

“Leased Premises”). A true and correct copy of the Lease Agreement is attached hereto as

Exhibit A.

       9. Pursuant to Paragraph 5 of the Lease Agreement, Darty Properties agreed to maintain

the roof and outside walls of the building and to be responsible for structural repairs which may

be necessary during the term of the Lease Agreement.

       10. Between May 29, 2015 and February 23, 2016, Tyndall operated the Leased Premises

as a branch of its not-for-profit credit union business.

       11. On or about February 24, 2016, the Leased Premises suffered storm damage to the

roof, causing leaks and water intrusion to the interior of the building on the Leased Premises.

       12. In response to the February 24, 2016 storm damage and water intrusion, Darty

Properties undertook to perform repairs to the building.

       13. Darty Properties alleges that it contracted with Good Cents and Good Cents

Consultants to perform any necessary repair work to the Leased Premises.

       14. Darty, Darty Properties, Good Cents, and/or Good Cents Consultants informed

Tyndall that repairs would not be completed and that Tyndall could not resume operation at the

Leased Premises until March 23, 2016.

       15. On or about March 17, 2016, before Tyndall was allowed to re-occupy the building

on the Leased Premises, the roof suffered further storm damage, leaks, and water intrusion.

       16. On or about March 18, 2016, despite Darty, Darty Properties, Good Cents, and/or

Good Cents Consultants originally informing Tyndall that repairs from the first storm event



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could not be completed until March 23, 2016, Darty, Darty Properties, Good Cents, and/or Good

Cents Consultants suspiciously claimed to have made all necessary repairs from both storm

damage and leak events in only one day.

       17. The February and March 2016 leaks that resulted from improper maintenance and

repair of the roof caused physical damage to Tyndall’s equipment and the interior of the Leased

Premises, forcing Tyndall to suspend operations at the Leased Premises after February 24, 2016.

       18. For approximately five months after the February and March 2016 leaks, Tyndall

made numerous written demands on Darty and Darty Properties to evaluate and sufficiently

repair the source of the leaks and remediate water intrusion in the Leased Premises.

       19. In response to Tyndall’s written demands, Darty and Darty Properties represented that

the roof had been repaired, that the effects of water intrusion into the building were “not severe”,

and that the Leased Premises was fit for use.

       20. Upon its own investigation, Tyndall discovered that water intrusion in the building

had not been remediated in any way and the building was not fit for use.

       21. When Tyndall confronted Darty and Darty Properties about the un-remediated water

intrusion, Darty made no effort to investigate or remediate the issues, but rather offered to

terminate the Lease Agreement upon payment of six more months of rent by Tyndall.

       22. Tyndall paid required rent pursuant to the Lease Agreement under protest from March

2016 through July 2016, when it became clear that Darty and Darty Properties actively refused to

make appropriate repairs or to remediate water intrusion in the Leased Premises. When it became

clear that Darty and Darty Properties actively refused to remediate water intrusion in the Leased

Premises, Tyndall properly terminated the Lease Agreement in July 2016.




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        23. As a result of Darty, Darty Properties, Good Cents, and/or Good Cents Consultants’

failure to maintain and repair the building, Tyndall was forced to terminate its operations and

close its branch at the Leased Premises after February 24, 2016.

        24. As a result of the acts, omissions, and representations described herein of Darty,

Darty Properties, Good Cents, and/or Good Cents Consultants, Tyndall was caused to incur

damages in the form of physical damage to tangible property, lost rent, business expenses,

business interruption, reputational damage, lost profits, and other consequential and incidental

damages, as well as attorneys’ fees and expenses.

                                         COUNT I
                           (Breach of Contract – Darty Properties)

        25. Tyndall adopts and incorporates the preceding paragraphs of the Complaint as if fully

set forth herein.

        26. Tyndall and Darty Properties were parties to the valid Lease Agreement.

        27. Tyndall performed all of its obligations under the Lease Agreement.

        28. Darty Properties breached the Lease Agreement by failing to maintain the roof of the

Leased Premises and failing to make structural repairs necessitated by the failure to maintain the

roof.

        29. As a proximate result of Darty Properties’ breach of the Lease Agreement, Tyndall

was caused to incur damages in the form of physical damage to tangible property, lost rent,

business expenses, business interruption, reputational damage, lost profits, and other

consequential and incidental damages in an amount exceeding $75,000.00, exclusive of interest

and costs, as well as attorneys’ fees and expenses.




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                                     COUNT II
(Negligence/Wantonness – Darty, Darty Properties, Good Cents, Good Cents Consultants)

        30. Tyndall adopts and incorporates the preceding paragraphs of the Complaint as if fully

set forth herein.

        31. In undertaking to repair the roof of the Leased Premises, Darty, Darty Properties,

Good Cents, and Good Cents Consultants had a duty to exercise reasonable care performing

these activities and/or selecting contractors to perform these activities.

        31. Darty, Darty Properties, Good Cents, and Good Cents Consultants’ failure to exercise

reasonable care in repairing the building caused the foreseeable damage of water intrusion into

the Leased Premises.

        32. Darty, Darty Properties, Good Cents, and Good Cents Consultants consciously and

with reckless indifference to the consequences failed to exercise reasonable care in repairing the

building and caused the reasonable foreseeable damage of water intrusion into the Leased

Premises with knowledge that injury would likely result to Tyndall.

        33. As a proximate result of Darty, Darty Properties, Good Cents, and Good Cents

Consultants’ negligence and wantonness, Tyndall was caused to incur damages in the form of

physical damage to tangible property, lost rent, business expenses, business interruption,

reputational damage, lost profits, and other consequential and incidental damages in an amount

exceeding $75,000.00, exclusive of interest and costs, as well as attorneys’ fees and expenses.

                                      COUNT III
(Misrepresentation/Fraud - Darty, Darty Properties, Good Cents, Good Cents Consultants)

        34. Tyndall adopts and incorporates the preceding paragraphs of the Complaint as if fully

set forth herein.




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        35. After the storm events, Darty, Darty Properties, Good Cents, and Good Cents

Consultants made representations of material fact to Tyndall that the roof of the Leased Premises

was sufficiently repaired, that the water intrusion had been remediated and was “not severe”, and

that the Leased Premises was fit for use.

        36. Darty, Darty Properties, Good Cents, and Good Cents Consultants negligently,

recklessly, or willfully made these false representations with the intent to deceive Tyndall to

continue paying rent under the Leased Premises and/or conceal substandard work performed on

the building.

        37. Tyndall relied upon the representations of Darty, Darty Properties, Good Cents, and

Good Cents Consultants, remained in the Leased Premises, and incurred rent (paid under

protest), business expenses, and property damage prior to terminating the Lease Agreement after

determining that Darty, Darty Properties, Good Cents, and Good Cents Consultants improperly

repaired the Leased Premises and actively refused to remediate water intrusion in the Leased

Premises.

        38. As a proximate result of Darty, Darty Properties, Good Cents, and Good Cents

Consultants’ misrepresentations, Tyndall was caused to incur damages in the form of physical

damage to tangible property, lost rent, business expenses, business interruption, reputational

damage, lost profits, and other consequential and incidental damages in an amount exceeding

$75,000.00, exclusive of interest and costs, as well as attorneys’ fees and expenses.

                                       COUNT IV
                      (Unjust Enrichment – Darty and Darty Properties)

        39. Tyndall adopts and incorporates the preceding paragraphs of the Complaint as if fully

set forth herein.




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       40. After the February 24, 2016 storm event and prior to terminating the Lease

Agreement in July 2016, Tyndall paid Darty Properties rent required under the Lease Agreement

under protest.

       41. After February 24, 2016, Darty and Darty Properties materially breached the Lease

Agreement, prevented Tyndall from the use and enjoyment of the Leased Premises, and

materially misrepresented the nature of the repairs to the roof and the water intrusion.

       42. Accordingly, Darty and Darty Properties collected payment that in equity and good

conscious is due to be returned to Tyndall, with interest.

                                     PRAYER FOR RELIEF

       WHEREFORE, Tyndall demands judgment against Defendants for an amount in excess

of $75,000.00, exclusive of interests and costs, including but not limited to: physical damage to

tangible property, lost rent, business expenses, business interruption, reputational damage, lost

profits, and other consequential and incidental damages, as well as attorneys’ fees, litigation,

expenses, and any other relief the finder of fact sees fit.




                                               Respectfully submitted,

                                               SIMPSON, McMAHAN,
                                                    GLICK & BURFORD, PLLC



                                               /s/ W. Scott Simpson
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                                 CERTIFICATE OF SERVICE

        I hereby certify that I have caused a copy of the foregoing to be electronically filed and
issued for service via electronic mail on April 28, 2017.

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                                                      /s/ W. Scott Simpson
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